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             UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT OF PENNSYLVANIA
EUGENE C. THORNE, JR.,               :

           Plaintiff,                :

                 v.                  :        3:CV-17-00939

C/O HAMMER and SGT. CRYDER, :                 (Judge Mannion)

                                     :
           Defendants.
                                     :        (Magistrate Judge
                                              Arbuckle)

                               ORDER

     NOW, this 9th day of July, 2020, upon review of the Report and

Recommendation of Magistrate Judge William I. Arbuckle (Doc. 52) for

plain error or manifest injustice, IT IS HEREBY ORDERED that:

     (1) The Report and Recommendation (Doc. 52) is ADOPTED.

     (2) Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint

     (Doc. 46) is GRANTED in part and DENIED in part:

           (a) Defendants’ Motion to Dismiss Plaintiff’s claim of excessive

           force regarding Defendants’ verbal harassment is GRANTED.
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                  (b) Defendants’ Motion to Dismiss Plaintiff’s claim of excessive

                  force regarding Defendant Cryder placing a knee into the back

                  of his leg is GRANTED.

                  (c) Defendants’ Motion to Dismiss Plaintiff’s Amended

                  Complaint in all other respects is DENIED.

         (5) The matter is RECOMMITTED to Magistrate Judge Arbuckle for

         further proceedings.



                                   s/ Malachy E. Mannion
                                   Malachy E. Mannion
                                   United States District Judge
Dated: July 9, 2020
17-939-01-order
